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                               UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Alexandria Division



ANNE RENEE HUFFMAN,

               Plaintiff,

V.                                                             Civil Action No.:      •i.C-cv-^^O
TARGET CORPORATION,
TARGET STORES, INC.,
GAINESVILLE SUPERTARGET,                                               P
TARGET CORPORATE SERVICES, INC.                                         3
and                                                                            JULI7 20I5
TARGET AMERICA, INC.,
                                                                             CLERK, U.S. DISTRICT COURT
                                                                               ALEXANDRIA. VIRGINIA
               Defendants.



                   FINANCIAL INTEREST DISCLOSURE STATEMENT
                  OF TARGET CORPORATION, TARGET STORES, INC.
                       AND TARGET CORPORATE SERVICES. INC.


        Pursuant to Local Rule 7.1 of the Eastern District of Virginia, and to enable Judges and

Magistrate Judges to evaluate possible disqualification or recusal, the undersigned counsel for

DefendantsTarget Corporation, Target Stores, Inc. and Target Corporate Services, Inc. certifies

as follows: Target Corporation is a publicly traded corporation, and its stock is registered with

the U.S. Securities and Exchange Commission and traded on the New York Stock Exchange.

Target Stores, Inc. and Target Corporate Services, Inc. are wholly owned subsidiaries of Target

Corporation. As a publicly traded company, Target Corporation generally does not and is not

legally obligated to track the identity of individual shareholders, but relies on the reports filed by

investors that disclose their holdings in Target Corporation, which reports are required by the

rules of the SEC. Based on its review of the most recently filed reports, Target is unaware of any
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shareholder that reported owning 10% or more of Target's outstanding stock. Thus, there is

nothing to report under Local Civil Rule 7.1(A)(1)(a).



                                         TARGET CORPORATION, TARGET STORES, INC.
                                         AND TABj0^T C0RP0RA;EE SERVICES, INC.




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                                             Counselfor Target Corporation, Target Stores,
                                             Inc. and Target Corporate Services, Inc.
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                                CERTIFICATE OF SERVICE


       Ihereby certify that on this /(^^ay ofJuly, 2015, atrue and accurate copy ofthe
foregoing was sent via U.S. Mail to:


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                             Counsel for Plaintiff




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